      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 1 of 17



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
LOCKHEED MARTIN TRANSPORTATION
SECURITY SOLUTIONS, AN OPERATING UNIT OF
LOCKHEED MARTIN CORPORATION,                                                09 CV 4077 (PGG) (GWG)

                                   Plaintiff,                               ECF CASE

          - against -

MTA CAPITAL CONSTRUCTION COMPANY and
METROPOLITAN TRANSPORTATION AUTHORITY,

                                    Defendants.
------------------------------------------------------------------------X
TRAVELERS CASUALTY AND SURETY COMPANY
OF AMERICA, FEDERAL INSURANCE COMPANY,
and SAFECO INSURANCE COMPANY OF AMERICA,                                    09 CV 6033 (PGG) (GWG)

                                   Plaintiffs,

          - against -

METROPOLITAN TRANSPORTATION AUTHORITY,
MTA CAPITAL CONSTRUCTION COMPANY, NEW
YORK CITY TRANSIT AUTHORITY, and
LOCKHEED MARTIN CORPORATION,

                                    Defendants.
------------------------------------------------------------------------X

           DECLARATION OF MATTHEW A. TAYLOR IN SUPPORT
    OF LOCKHEED MARTIN’S’ MOTION FOR PARTIAL SUMMARY JUDGMENT

          I, Matthew A. Taylor, pursuant to 28 U.S.C. § 1746(2), declare as follows:

          1.      I am an attorney admitted to practice before this Court and am a partner of Duane

Morris LLP, attorneys for Plaintiff Lockheed Martin Transportation Security Solutions, an

Operating Unit of Lockheed Martin Corporation (“Lockheed Martin”). I submit this Declaration

in support of Lockheed Martin’s motion for an order in favor of Lockheed Martin’s granting

partial summary judgment against Defendants MTA Capital Construction Company (“MTACC”)



DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 2 of 17



and Metropolitan Transportation Authority (“MTA”) (collectively, “MTA”). I am fully familiar

with the facts set forth herein.

          2.      The purpose of this declaration is to ensure that the documents included in the

Joint Appendix to the Parties’ Rule 56.1 Statements of Undisputed Facts, and cited herein and

Plaintiff’s Appendix to Plaintiff’s Rule 56.1 Statement of Undisputed Facts, are properly

authenticated. 1

          3.      On or about April 24, 2009, Lockheed Martin commenced an action in this Court

entitled, Lockheed Martin Transportation Security Systems, an Operating Unit of Lockheed

Martin Corporation v. MTA Capital Construction Company and Metropolitan Transportation

Authority, Docket No. 09 CV 4077. A true copy of Lockheed Martin’s Complaint is attached as

Ex. J1, ECF No. 1.

          4.      The subject of the action and at issue in the instant motion is Lockheed Martin’s

delivery of an integrated electronic security system and Security Operating Centers, together

with associated facility construction and renovation work at various MTA locations (collectively,

the “Project”).

          5.      On or about May 26, 2009, the MTA filed its Answer and Counterclaim. A true

copy of the MTA Answer and Counterclaim is attached as Ex. J2, ECF No. 10.

          6.      On or about July 7, 2009, Lockheed Martin filed its Amended Complaint. A true

copy of Plaintiff’s Amended Complaint is attached as Ex. J3, ECF No. 21.




1
 References to “Ex. J_” refer to the exhibits attached to the Joint Appendix to the Parties’ Rule 56.1 Statements of
Undisputed Facts, submitted jointly by the parties. Plaintiff makes no representations as to the authenticity or
admissibility of any document contained in the Joint Appendix and recited herein or in or Plaintiff’s motion papers.
References to “Ex. LM_” refer to the exhibits contained within the Appendix to Plaintiff’s Rule 56.1 Statement of
Undisputed Facts, submitted herewith by Plaintiff.


DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 3 of 17



          7.    On or about July 20, 2009, MTA filed an Answer and Counterclaims to Plaintiff’s

Amended Complaint (the “MTA Answer and Counterclaims”). A true copy of MTA Answer

and Counterclaims is attached as Ex. J4, ECF No. 23.

          8.    On or about August 12, 2009, Lockheed Martin filed an Answer to Defendants’

Counterclaims. A true copy is attached as Ex. J5, ECF No. 30.

          9.    Attached from the Project records as such were produced between the parties or

third parties in this litigation (“Project Records”) as Ex. J6 is a true copy of a letter from MTA to

Lockheed Martin dated May 26, 2009 (IESS MTA-CCM/LM – 10634) (“The Default Notice”).

          10.   Attached from the Project Records as Ex. J7.1 is a true copy of a letter from

Lockheed Martin to MTA dated June 4, 2009 (LM-MTA-CN-2009-06-04-1819) (“The Cure

Response”).

          11.   Attached from the Project Records as Ex. J7.2 are true copies of the attachments

to the Cure Response.

          12.   Attached from the Project Records as Ex. J8 is a true copy of a letter from MTA

to Lockheed Martin dated June 12, 2009 (IESS MTA-CM/LM – 01646) (“Termination Letter”).

          13.   Attached from the Project Records as Ex. J9.1 is a true copy of Volume I of

Lockheed Martin’s Proposal, entitled “Proposal Summary.”

          14.   Attached from the Project Records as Ex. J9.2 is a true copy of Volume II of

Lockheed Martin’s Proposal, entitled “Technical Proposal.”

          15.   Attached from the Project Records as Ex. J9.3 is a true copy of Volume III of

Lockheed Martin’s Proposal, entitled “Management.”

          16.   Attached as Ex. J10.1 is a true copy of the “Table of Contents” to MTA’s

Request for Proposal (“RFP”).




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 4 of 17



          17.   Attached from the Project Records as Ex. J10.2 is a true copy of the “Agreement”

from Volume 1 of the RFP.

          18.   Attached from the Project Records as Ex. J10.3 is a true copy of the Agreement

“Contract Execution” from Volume 1 of the RFP.

          19.   Attached from the Project Records as Ex. J10.4 is a true copy of the “Contract

Terms and Conditions” from Volume 1 of the RFP.

          20.   Attached from the Project Records as Ex. J10.5 is a true copy of the “Special

Conditions” from Volume 1 of the RFP.

          21.   Attached from the Project Records as Ex. J11 is a true copy of Volume 1A of the

RFP, entitled “Division 1 – General Requirements – Brief Description of the Work.”

          22.   Attached from the Project Records as Ex. J12 is a true copy of Section 1X of the

RFP, “Division 1 – General Requirements – Section 1X Commissioning,” from Volume 2A.

          23.   Attached from the Project Records as Ex. J13 is a true copy of the RFP, “Division

1AB – Command, Control and Communications (C3 Centers),” from Volume 2B.

          24.   Attached from the Project Records as Ex. J13.11 is a true copy of the RFP,

“Section 1AB11 – Software,” a section “Division 1AB – Command, Control and

Communications (C3 Centers),” from Volume 2B.

          25.   Attached from the Project Records as Ex. J16 is a true copy of the RFP, “Concept

of Operations,” from Volume 6A”

          26.   Attached as Ex. LM1 is a true copy of a printout of the website Lockheed Martin:

Who We Are (July 11, 2013, 11:00 pm), http://www.lockheedmartin.com/us/who-we-are.html.




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 5 of 17



          27.   Attached as Ex. LM2 is a true copy of a printout of the website MTA Capital

Construction Company, About MTA Capital Construction Company (July 11, 2013, 11:00 pm),

http://www.mta.info/capconstr/about.htm.

          28.   Attached as Ex. LM is a true copy of a printout of the website MTA Press

Releases: MTA Announces Historic Restructuring (July 11, 2013, 11:17 pm),

http://new.mta.info/mta-announces-historic-restructuring.

          29.   Attached as Ex. LM3 is a true copy of the document entitled, Progress Report:

The MTA Capital Security Program, November 2008, Report 6-2009, prepared by the New York

State Comptroller’s Office, http://www.osc.state.ny.us/osdc/mta6-2009.pdf (accessed July 11,

2013).

          30.   Attached from the Project Records as Ex. LM4 is a true copy of an e-mail from

Frank Salvato to Lockheed Martin with an attached chart of questions, dated July 29, 2005,

produced by MTA, Bates-stamped MTACC_E-00548207-09.

          31.   Attached from the Project Records as Ex. LM5 is a true copy of an e-mail from

Lockheed Martin to Frank Salvato with attached responses to questions dated August 1, 2005,

produced by MTA, Bates-stamped MTACC_E-00548210).

          32.   Attached from the Project Records as Ex. LM6 is a true copy of the document

“Lockheed Martin Invoice 40 for Work Performed from April 9, 2009 to May 22, 2009,”

produced by MTA, Bates-stamped MTACC_E- 00211700.

          33.   Attached from the Project Records as Ex. LM7 is a true copy of the document

“Lockheed Martin Invoice 42 for Work Performed from May 23, 2009 to June 12, 2009,”

produced by MTA, Bates-stamped MTACC_E-00575803. (Pirraglia Exhibit 6A, excerpts of

Pirraglia Exhibits 6B and 6C)




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 6 of 17



          34.   Attached from the Project Records as Ex. LM8 is a true copy of an e-mail from

James Gaughan to Ronald Pezik, dated April 15, 2008, produced by MTA, Bates-stamped

MTACC_E 0053293.

          35.   Attached from the Project Records as Ex. LM9 is a true copy of the letter from

Kenneth Shields to James Gaughan, dated December 21, 2007, produced by the MTA (IESS

MTA-CCM/LM-00746)

          36.   Attached from the Project Records as Ex. LM10 is a true copy of the letter from

MTA to Lockheed Martin, dated July 27, 2007, produced by the MTA (IESS MTA/CCM/LM-

00450)

          37.   Attached from the Project Records as Ex. LM11 is a true copy of an e-mail from

Ronald Pezik to Kenneth Shields, Nino Pirraglia, and Rajee Alexander, attaching the “Notice to

Proceed” dated June 11, 2009, produced by MTA, Bates-stamped MTACC_E-00467598.

          38.   Attached from the Project Records as Ex. LM12 is a true copy of a document

titled “Additional Work Order Chart,” dated June 24, 2009, produced by MTA, Bates-stamped

MTACC_E-00211700.

          39.   Attached from the Project Records as Ex. LM13 is a true copy of a letter from

Lockheed Martin to MTA, dated October 30, 2008 (LM-MTA-CN-2008-10-30-1271R).

          40.   Attached from the Project Records as Ex. LM14 is a true copy of an e-mail from

Kathleen Lapp to Mysore Nagaraja, dated May 6, 2005, produced by MTA, Bates-stamped

MTACC_E 0055378.

          41.   Attached from the Project Records as Ex. LM15 is a true copy of an e-mail from

David Horn to Ashok Patel dated May 26, 2006, produced by MTA, Bates-stamped MTACC_E

00433759.




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 7 of 17



          42.   Attached from the Project Records as Ex. LM16 is a true copy of an e-mail from

Ben Oyekunle to Suren Karavettil, Steve Payne and Denise Jones dated December 14, 2008,

with attachment produced by MTA, Bates-stamped Dnutche00012608.

          43.   Attached from the Project Records as Ex. LM17 is a true copy of an e-mail from

Suren Karavettil, dated June 12, 2009, produced by MTA, Bates-stamped DNUTCHE00010091.

          44.   Attached from the Project Records as Ex. LM18 is a true copy of “Systems

Integrator” from McGraw–Hill Dictionary of Scientific and Technical Terms, p. 2093 (6th Ed.

2003) (“Systems Integrator”).

          45.   Attached from the Project Records as Ex. LM19 is a true copy of an e-mail from

Linda Kleinbaum to Veronique Hakim and Ronald Saporita, dated April 30, 2008, produced by

MTA, Bates-stamped MTACC_E-00586241-42).

          46.   Attached from the Project Records as Ex. LM20 is a true copy of a document

entitled “Brief Talking Sheet,” dated April 27, 2008, produced by MTA, Bates-stamped

MTAHQ_HC 00012379.

          47.   Attached from the Project Records as Ex. LM21 is a chart prepared by Duane

Morris LLP, counsel for Lockheed Martin, listing excerpts from Lockheed Martin’s Proposal

regarding Commercial Off-the-Shelf Products (“COTS”). This chart is intended to summarize

statements appearing in Lockheed Martin’s Proposal which are part of the Project Records and

included herein as Ex. J9.1, Ex. J9.2 and Ex. J9.3.

          48.   Attached as Ex. LM22 is a true copy of excerpts from the report of Howard Reith,

of Dnutch Associates entitled, “Deficiencies in the IESS/C3 Project and the Cost of

Remediation,” dated June 21, 2011. Mr. Reith has been designated by MTA as one of its expert

witnesses to testify.




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 8 of 17



          49.   Attached from the Project Records as Ex. LM23 is a true copy of an e-mail from

Suren Karavettil to Terrence Fetters, dated January 2, 2009, produced by MTA, Bates-stamped

Dnutche00012165 (Oyekunle 4).

          50.   Attached as Ex. LM24 is a true copy of the Transcript from the Pre-Motion

Conference before Hon. Paul G. Gardephe held on April 19, 2013.

          51.   Attached from the Project Records as Ex. LM25 is a true copy of an e-mail from

Wael Hibri to David Horn, Linda Kleinbaum, and Ronald Saporita, dated January 12, 2009,

attaching IESS Board Briefing notes (MTAHQ_HC 00006217-6220).

          52.   Attached from the Project Records as Ex. LM26 is a true copy of an e-mail from

Wael Hibri to David Horn, Linda Kleinbaum and Ronald Saporita, dated January 12, 2009,

produced by MTA, Bates-stamped MTAHQ_HC 00006218.

          53.   Attached from the Project Records as Ex. LM27 is a true copy of an e-mail from

Richard Miras to Veronique Hakim, dated February 10, 2009, produced by MTA, Bates-stamped

MTACC_E 00529907-08.

          54.   Attached from the Project Records as Ex. LM28 is a true copy of a document

entitled “Steering Committee Meeting Minutes,” dated November 13, 2008, produced by MTA,

Bates-stamped MTAHQ_HC 00006559.

          55.   Attached from the Project Records as Ex. LM29 is a true copy of an e-mail from

Veronique Hakim to Michael Horodniceanu and Linda Kleinbaum, dated January 22, 2009,

produced by MTA, Bates-stamped MTAHQ_HC 00006187.

          56.   Attached from the Project Records as Ex. LM30 is a true copy of an e-mail from

Ronald Pezik to Veronique Hakim and Richard Miras, dated January 10, 2009, produced by

MTA, Bates-stamped MTACC_E-00590300.




DM1\4028985.2
      Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 9 of 17



          57.   Attached from the Project Records as Ex. LM31 is a true copy of an e-mail from

Ronald Saporita to Veronique Hakim, dated December 11, 2008, produced by MTA, Bates-

stamped MTAHQ_HC 00019670

          58.   Attached from the Project Records as Ex. LM32 is a true copy of an e-mail from

Ronald Pezik to Ronald Saporita, dated December 12, 2008, produced by MTA, Bates-stamped

MTAHQ_HC 00010458.

          59.   Attached from the Project Records as Ex. LM33 is a true copy of an e-mail from

Ronald Pezik to Veronique Hakim and Richard Miras, dated January 16, 2009, produced by

MTA, Bates-stamped MTACC_E 00589063.

          60.   Attached from the Project Records as Ex. LM34 is a true copy of an e-mail from

Veronique Hakim to David Horn, dated June 5, 2009, produced by MTA, Bates-stamped

MTAHQ_HC 00023101.

          61.   Attached from the Project Records as Ex. LM35 is a true copy of the MTA

Independent Consulting Engineer’s Report entitled “IESSS Background Briefing on MTA

Capital Security Program,” dated March 2009, produced by MTA, Bates-stamped MTAHQ_HC

00033575.

          62.   Attached from the Project Records as Ex. LM36 is a true copy of a draft report

authored by Carter-Burgess (MTA’s Independent Engineering Consultant), entitled “MTACC

Capital Security Program, Status as of December 2005 [Draft Unofficial],” produced by MTA,

Bates-stamped MTAHQ_E 00008028.

          63.   Attached from the Project Records as Ex. LM37 is a true copy of a document by

Carter Burgess and Sy Coleman, entitled “MTA Integrated Electronic Security System (IESS)

Peer Review Interim Report,” dated March 26, 2007.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 10 of 17



          64.   Attached from the Project Records as Ex. LM38 is a true copy of the MTA

Captial Security Program,MTA Independent Engineering Consultant Review, dated

December 12, 2006 produced by MTA, Bates-stamped MTAHQ_E 00008097.

          65.   Attached from the Project Records as Ex. LM39 is a true copy of the MTA

Capital Security Program, MTA Independent Engineering Consultant Review, dated December

2006, produced by the MTA, Bates-stamped MTACC_E-00586206.

          66.   Attached from the Project Records as Ex. LM40 is a true copy of the MTA IESS

Peer Review Report (Draft), dated December 3, 2007 produced by MTA, Bates-stamped

MTACC_HC 00048759-48817.

          67.   Attached from the Project Records as Ex. LM41 is a true copy of an e-mail from

Ronald Pezik to David Horn, dated August 8, 2008, produced by MTA, Bates-stamped

MTAHQ_HC 00015970.

          68.   Attached from the Project Records as Ex. LM42 is a true copy of the MTA IESS

Peer Review Report, dated December 3, 2007 (MTACC_HC 00048759-48817)).

          69.   Attached from the Project Records at Ex. LM43 is a true copy of an e-mail from

Joseph Christen to Ronald Pezik, Richard Miras, dated April 3, 2007 (MTACC_E-435825).

          70.   Attached from the Project Records as Ex. LM44 is a true copy of a document

entitled “Talking Points for the Joint Briefing to the MTA CC and MTA Safety and Security

Committees,” dated January__, 2009, produced by MTA, Bates-stamped MTABT_E

0000228528.

          71.   Attached from the Project Records as Ex. LM45 is a true copy of an e-mail from

Kleinbaum to Veronique Hakim and Michael Horodniceanu, dated January 2009, produced by

MTA, Bates-stamped MTAHQ_HC 00006198.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 11 of 17



          72.   Attached from the Project Records as Ex. LM46 is a true copy of an e-mail from

Ronald Saporita to Veronique Hakim, David Horn, and Linda Kleinbaum, dated October 23,

2008, produced by MTA, Bates-stamped MTAHQ_HC 9317.

          73.   Attached from the Project Records as Ex. LM47 is a true copy of a document

entitled “Meeting Minutes,” dated July 9, 2009, produced by MTA, Bates-stamped MTAHQ_HC

00025614.

          74.   Attached from the Project Records as Ex. LM48 is a true copy of an e-mail from

Ashok Patel to Joseph Christen, dated September 25, 2005, produced by MTA, Bates-stamped

MTACC_E-00452902.

          75.   Attached from the Project Records as Ex. LM49 is an e-mail from Bradley Lovitt

to Mark Gaffney, Terrence Fetters, April Panzer, and Joseph Christen, dated October 30, 2009,

produced by MTA, Bates-stamped PTG_E 00076100.

          76.   Attached from the Project Records as Ex. LM50 is a true copy of an e-mail from

Ronald Pezik to Richard Miras and Veronique Hakim, dated March 27, 2009, produced by MTA,

Bates-stamped MTACC_E-00528016.

          77.   Attached from the Project Records as Ex. LM51 is a true copy of an e-mail from

Kenneth Shields to Terrence Fetters with attachment, dated April 23, 2007, produced by MTA,

Bates-stamped URS_E-00164819

          78.   Attached from the Project Records as Ex. LM52 is a true copy of an e-mail from

Terrence Fetters to Ronald Pezik, Kenneth Shields, dated August 7, 2007, produced by MTA,

Bates-stamped PTG_E 00041630.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 12 of 17



          79.   Attached from the Project Records as Ex. LM53 is a true copy of an e-mail from

Donato Antonucci to Kenneth Shields, dated February 9, 2007, produced by Lockheed Martin,

Bates-stamped LM-E 00106058-60.

          80.   Attached from the Project Records as Ex. LM54 is a true copy of an e-mail from

Bradley Lovitt to Mark Gaffney, Terrence Fetters, April Panzer, and Joseph Christen, dated

October 30, 2005, produced by MTA, Bates-stamped MTACC_E 00298535.

          81.   Attached from the Project Records as Ex. LM55 is a true copy of an e-mail from

Ronald Pezik to Stanley Grill, dated July 8, 2008, produced by MTA, Bates-stamped MTATA_E

00709105.

          82.   Attached from the Project Records as Ex. LM56 is a true copy of an e-mail from

Patrick Killackey to Mysore Nagaraja, Ronald Pezik and Veronique Hakim, dated January 29,

2008, produced by MTA, Bates-stamped MTAHQ_HC 23659.

          83.   Attached as Ex. LM57 is a true copy of a letter from Lockheed Martin’s attorneys

Duane Morris LLP to MTA’s attorneys Hoguet Newman Regal & Kenney, LLP, dated July 29,

2009.

          84.   Attached as Ex. LM58, is a true copy of a letter from Lockheed Martin’s attorneys

Duane Morris, LLP to MTA’s attorneys Hoguet Newman Regal & Kenney, LLP dated July 30,

2009.

          85.   Attached as Ex. LM59 is a true copy of a letter from MTA’s Attorneys, Hoguet

Newman Regal and Kenney to Lockheed Martin’s Attorney’s, dated August 5, 2009 .

          86.   Attached from the Project Records as Ex. LM60 is a true copy of an e-mail from

Donato Antonucci to Kenneth Shields, dated February 9, 2007, produced by Lockheed Martin,

Bates-stamped LM-E 00106058-60.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 13 of 17



          87.   Attached from the Project Records as Ex. LM61 is a true copy of an document

entitled “Executive Summary of Path Forward,” dated January 7, 2010, produced by MTA,

Bates-stamped MTAHQ_HC 00026263.

          88.   Attached from the Project Records as Ex. LM62 is a true copy of an e-mail from

David Horn to Willam Morange, dated August 25, 2010, attaching Notes from the Pre-Steering

Committee meetings with the agencies. MTA document Bates-stamped MTAHQ_HC

00006710-15.

          89.   Attached from the Project Records as Ex. LM63 is a true copy of an e-mail from

Ben Oyekunle to Terrence Fetters, dated April 22, 2009, produced by MTA, Bates-stamped

PTG_E 00023657.

          90.   Attached from the Project Records as Ex. LM64 is a true copy of an e-mail from

Linda Martinez to Terrence Fetters and Avery Huggins, dated November 08, 2007, produced by

MTA, Bates-stamped PTG_E-00046288.

          91.   Attached from the Project Records as Ex. LM65 is a true copy of an e-mail from

John Steinbock to Jim Williamson, dated March 12, 2009, produced by Lockheed Martin, Bates-

stamped LM-E-00808498

          92.   Attached from the Project Records as Ex. LM66 is a true copy of the document

entitled “MTA Capital Security Program – MTA Independent Engineering Consultant Review,”

dated December 2006, produced by MTA, Bates-stamped MTACC_E-00586206.

          93.   Attached from the Project Records as Ex. LM67 is a true copy of an e-mail from

Ronald Pezik to Ernie Pucillo, dated April 21, 2009, produced by MTA, Bates-stamped

MTACCE 00506992.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 14 of 17



          94.    Attached from the Project Records as Ex. LM68 is a true copy of a document

entitled “President’s Briefing Sheet,” dated January 14, 2008, produced by MTA, Bates-stamped

MTAHQ_HC 00024228.

          95.    Attached from the Project Records as Ex. LM69 is a true copy of an e-mail from

Ronald Pezik to Veronique Hakim, Richard Miras, attaching Draft MTAPD BU Letter

Attachment – Draft Response to LM Letter, dated April 6, 2009, Draft Response SB, and LV 4-

30-09, dated May 1, 2009, produced by MTA, Bates-stamped MTACCE0531236-37

          96.    Attached from the Project Records as Ex. LM70 is a true copy of a letter from

MTA to Lockheed Martin, dated September 6, 2007 (IESS MTA-CCM/LM – 00533).

          97.    Attached from the Project Records as Ex. LM71 is a true copy of a document

entitled “Test and Evaluation Master Plan E.2,” dated April 16, 2007

          98.    Attached from the Project Records as Ex. LM72 is a true copy of a document

entitled “Test and Evaluation Master Plan, Rev. F.1,” dated July 23, 2007

          99.    Attached from the Project Records as Ex. LM73 is a true copy of a document

entitled “Steering Committee Meeting Minutes,” dated March 20, 2008, produced by MTA,

Bates stamped MTAHQ_HC 00020466-69.

          100.   Attached from the Project Records as Ex. LM74 is a true copy of an e-mail from

Veronique Hakim to David Horn re: Draft Talking Points Bates, dated June 11, 2008 produced

by MTA Bates-stamped MTAHQ_HC 00009059.

          101.   Attached as Ex. LM75 is a true copy of an e-mail from Dick Hughes to Barbara

Humpton, Jim Gaughan, and Donato Antonucci, dated January 14, 2009, produced by Lockheed

Martin, Bates-stamped LM-E-00527359.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 15 of 17



          102.   Attached from the Project Records as Ex. LM76, is true copy of Lockheed

Martin’s Supplemental Report/Expert Rebuttal to the Report of Howard Reith.

          103.   Attached from the Project Records as Ex. LM77 is a true copy of the July 18,

2008 letter, (LM_E00577948)

          104.   Attached from the Project Records as Ex. LM78 is a true copy of an e-mail from

Veronique Hakim to Linda Kleinbaum, Richard Miras, Ronald Pezik, William Morange, and

Susan Kupferman, dated June 24, 2008, produced by MTA, Bates-stamped MTACC_E

00534451-52.

          105.   Attached from the Project Records as Ex. LM79 is a true copy of an e-mail from

Ronald Pezik to the Agencies, dated April 7, 2009, produced by, MTA Bates-stamped

MTAHQ_E 00001756 .

          106.   Attached from the Project Records as Ex. LM80 is a true copy of a letter from

Lockheed Martin to MTA, dated April 30, 2009, Bates-stamped LM-MTA-CN-2009-04-30-

1729.

          107.   Attached from the Project Records as Ex. LM81 is a true copy of a letter from

MTA to Lockheed Martin, dated September 14, 2007 (IESS MTA-CCM/LM-000556).

          108.   Attached from the Project Records as Ex. LM82 is a true copy of a letter from

Lockheed Martin to MTA, dated September 19, 2007 (LM-MTA-CN-2007-09-19-380).

          109.   Attached from the Project Records as Ex. LM83 is a true copy of a letter from

Lockheed Martin to MTA, dated April 9, 2008 (LM-MTA-CN-2008-04-09-872).

          110.   Attached from the Project Records as Ex. LM84 is a true copy of a letter from

Lockheed Martin to MTA, dated April 23, 2008 (LM-MTA-CN-2008-04-23-895) .




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 16 of 17



          111.   Attached from the Project Records as Ex. LM85 is a true copy of a letter from

MTA to Lockheed Martin, dated November 16, 2007 (IESS MTA-CCM/LMTSS-00663).

          112.   Attached from the Project Records as Ex. LM86 is a true copy of a letter from

MTA to Lockheed Martin, dated May 19, 2008 (document IESS MTA-CCM/LM-01121).

          113.   Attached from the Project Records as Ex. LM87 is a true copy of a letter from

MTA to Lockheed Martin, dated June 9, 2008 (IESS MTA-CCM/LM-01174).

          114.   Attached from the Project Records as Ex. LM88 is a true copy of a letter from

MTA to Lockheed Martin re: this letter is from LM to MTA Update No. 36 CPM Submittal

Status as of May 1, 2009, dated May 4, 2009 (LM-MTA-CN-2009-05-04-1731).

          115.   Attached from the Project Records as Ex. LM89 is a true copy of excerpts from a

report Aella Consulting Group, Inc./LTD, Initial Expert Report Concerning Physical Security

Technology Integration and Testing, dated June 21, 2011.

          116.   Attached from the Project Records as Ex. LM90 is a true copy of the document

entitled “MTAHQ New Technology Project Health Assessment Report,” dated June 8, 2007,

produced by MTA, Bates-stamped MTAHQ_HC 0032347-61

          117.   Attached from the Project Records as Ex. LM91 is a true copy of an e-mail from

Mark Falkey to David Horn and L. Gelsomi, dated August 13, 2007, produced by MTA, Bates-

stamped MTAHQ_HC 00015998.

          118.   Attached from the Project Records as Ex. LM92 is a true copy of an e-mail from

David Horn to MTA, dated June 24, 2008, produced by MTA, Bates-stamped MTAHC_HQ

12569.




DM1\4028985.2
     Case 1:09-cv-04077-PGG-GWG Document 140 Filed 10/15/13 Page 17 of 17



          119.   Attached from the Project Records as Ex. LM93 is a true copy of an e-mail from

Carlaine Blizzard to MTA re: MTA C3 Beneficial Use letter, dated May 27, 2008, produced by

MTA, Bates-stamped MTACCE 00526500. .

          120.   Attached from the Project Records as Ex. LM94 is a true copy of a letter from

MTA’s attorneys Hoguet Newman Regal and Kenney, LLP to Duane Morris LLP, dated April

26, 2013, which was also delivered to the Court.

          122.   Attached from the Project Records as Ex. LM95 is a true copy of a document

entitled “DCB Base Contract Worksheet,”

          121.   Attached from the Project Records as Ex. LM96 is a true copy of a letter from

MTA to Lockheed Martin, dated June 5, 2009, produced by MTA.




          Dated: New York, New York

          July 15, 2013

                                                                   ___/S/ Matthew A. Taylor____
                                                                    Matthew A. Taylor (MT2914)




DM1\4028985.2
